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          SCOTT, Akein
          Register No.           331   56-034
          Unit 3A
          Page    1


                                   Inmate Request to Staff Response

          This is in response to your Request to Staff, wherein you request a
          Compassionate Release/Reduction in Sentence (RIS) based upon
          "extraordinary and compelling circumstances. " Specifically, you claim
          your lingering effects from COVID-19 warrants consideration based on
          the pandemic. Additionally, you state you are a first-time offender,
          innocent of your charges, and sentencing guidelines have recently
          changed causing you to be sentenced unfairly.  Lastly, you state you
          have compfeted numerous programs during your incarceration.
         fn regards to your request for compassionate rel-ease based on your
         lingering effects from COVID-19, yoLrr request does not meet the
         criteria set forth in Program Statement 5050.50, Compassionate
         Release/Reduction j-n Sentence. A medj.cal- review determined you have
         not been diagnosed with a terminal, incurable disease with a life
         expectancy of eighteen months or l-ess, you are able to care for your
         daily needs, and you are not confined to a bed or wheelcl.air for
         greater than fifty percent of your waking hours.
         The BOP is taking extraordinary measures to contain the spread of
         COVID-19 and treat any affected inmates. We recognize that you, like
         all of us, have legitimate concerns and fears about the spread and
         effect.s of the vj-rus. However, your concern about being potentially
         exposed to, or possj-bly contracting, COVID-19 does not current-Iy
         warrant an early rel-ease from your sentence.
         While I appreciate and understand the issues at hand in regards to
         your claim of being sentenced unjustly, being innocent. of your
         charges, and being a first-ti-me offender who complet.ed numerous
         programs whil-e i-ncarcerat.ed, your request does not meet. the
         requiremenLs as set forth in policy. fn accordance with Program
         Statement 5050.50, Compassionate Release/Reduction j-n Sentence, you do
         not meet the requisit.e criteria under extraordinary or compelling
         circumstances. 'The Bureau of Prisons does not have the authority,
         through its compassionat.e rel-ease,/reduction in sentence procedures, to
         reduce an.inmate's term of imprisonment because of your perception of
         an unfair sentence for being a first-[ime offender, taking advantage
         of numerous programming opportunities, or your claim of j-nnocence.
         Accordingly, your request for Compassionate Rel-ease/Reduction in
         Sentence has been denied. If you are dissatisfied wit.h this response,
         you may appeal this dec-ision through the Administrative Remedy
         Process.
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    Case 2:13-cr-00227-ILRL-JVM Document 623-1 Filed 02/06/23 Page 10 of 17


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Case 2:13-cr-00227-ILRL-JVM Document 623-1 Filed 02/06/23 Page 11 of 17




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          Case 2:13-cr-00227-ILRL-JVM Document 623-1 Filed 02/06/23 Page 12 of 17

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             Case 2:13-cr-00227-ILRL-JVM Document 623-1 Filed 02/06/23 Page 13 of 17




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         Case 2:13-cr-00227-ILRL-JVM Document 623-1 Filed 02/06/23 Page 14 of 17

  ALPGH'                                 INMATE EDUCATION DATA             01-21 -2023
PAGE   OO1                                        TRANSCRIPT               10:38:51
REGISTER     NO     33756-034           NAME. . :   SCOTT               FUNC:   PRT
FORMAT.....         TRANSCRI PT         RSP   OF:   ALP-ALLENWOOD USP

                                         EDUCATION INFORMAT]ON
FACL ASSIGNMENT        DESCRIPT]ON                 START DATE/TIME STOP DATE/TTMS
ALP ESL HAS            ENGLISH PROFICIENT          06-28-2015 O9O8 CURRENT
ALP GED HAS            COMPLETED GED OR HS DIPLOMA 06-28-2016 O9O7 CURRENT

                                           EDUCATION COURSES
SUB-FACL          DESCRIPTlON                             DATE STOP DATE EVNT AC LV
                                                            START                     HRS
ALP               V-CUL]NARY    ARTS             IO-03-2022 CURRENT
ALP               PHYSICAL FIT AND BEHAVIOR MOD 05-24-2022 05-30-2022        PCP         ZU
ALP               S-FLAGGER CERTIF]CATION        05-21 -2022 05-2'7 -2022    PCP          E

ALP               COMMERCIAL DR]VERS LICENSE     0t-tt-2022 03-L5-2022 PCP               20
ALP               T I SSUES & lNTEGUMENTARY      1.L-09-2021 03-t2-2022      PCP         20
ALP               HUMAN BODY & CHEM              0L-23-2022 02-22-2022       PCP         20
ALP               WEIGHT MANGMNT & CARDIO ENDURE 72-06-2021 0L-L5-2022       PCP         20
ALP               RHU ACE HISTORY MANIFEST DEST  L0-04-2021 t0-29-202L       PCP          3
ALP               RHU PASS THE US CITZNSHP TEST? 0B-24-202L 09-30-202L       PCP          3
ALP               NERVOUS SYSTEM                 06-28-202t 08-09-202L       PCP         20
ALP               REC PUSH PACKET FITNESS        0'7 -06-2021 Q'7 -21-2027   PCP         20
ALP               CTE JOB READY CERT:FRKLFT CLAS 06-03-2027 06-03-2021       PCP          4
ALP               NUTRIT]ON AND BODY COMP        05-0t-2027 05-30-2021       PCP         20
ALP               MUSCULAR FLEXIBILITY 6. COMPRE 04-t2-202:- 04-26-202]-     PCP         20
ALP               RHU FAMOUS MALE SPORTS STARS   02-08-202]- 03-31-2021      PCP          3
ALP               RHU AMERICAN-INDIAN WARS       0L-07 -202t 02-26-2021      PCP          3
COP               SPANISH LANGUAGE ACE CLASS     06-25-20L9 02-03-2020       PCP         20
coP               PERSONAL CREDIT ACE CLASS      01-30-2019 06-24-201-9      PCP         20
coP               JOB FAIR INFORMATION           o2-12-2079 02-12-20L9       PCP          2
COP               NESS PLAN ACE CLASS M 6:30-7:3 08-28-2018 01-30-2019       PCP         20
COP               THE WAY TO HAPPINESS           08-28-2018 01-30-2019       PCP         20
COP               FOOTBALL      SPORTS RULES     09-18-2018    01- 31- 2 019 PCP          4
COP               MUISIC THEORY CLASS            09-10-2018 10*30-2018       PCP         76
COP               ADVANCED GU]TAR                09-10-2018 10-30-2018       PCP         76
coP               INTERMEDIATE DRUM CLASS        05-20-2018 06-18-2018       PCP         16
COP               MUISIC THEORY CLASS            05-20-2018 06-18-2018       PCP         l6
COP               CHANGE PLAN                    0 4-0 4-20L8 08-11-2018     PCP         10
coP               MANAG]NG MY LIFE               04-03-2018 08-10-2018       PCP         10
COP               RESPONSlBLE TH]NKING            04-02-2018 08-09-2018      PCP         10
COP               PERSONAL GROWTH                04-01-2018 08-08-2018       PCP         10
COP               FIELS MAINTENANCE CLASS         70-23-20)-1 lL-02-2ol'7    PCP          B

COP               FIELS MAINTENANCE CLASS         70-L6-20T't 70-25-20L'7    PCP          B

COP               CHANGE PLAN                     0't -06-2011 09-22-201'7   PCP         10
coP               AA PROGRAM                      06-30-2016 0 8-0l--2 017   PCP         20
COP               MANAGING MY LIFE                03-22-2011 06-03-2011      PCP         10
COP               RELAPSE PREVENTION              03-20-2011 06-01-2017      PCP         10
COP               ADVANCED CALISTENICS            02-27 -201'7 04-2L-20L1    PCP          4

COP               BASKETBALL SPORTS RULES         12-t6-2016 01-05-2017      PCP          4

COP                FIELS MAINTENANCE     CLASS    09-16-20t6   10-18-2016    PCP         10
COP               TUE-WED 7:30-3:30 VT CUST MAIN 09-13-2016 10-18-2016       PWV         30

G0002              MORE PAGES     TO   FOLLOW
            Case 2:13-cr-00227-ILRL-JVM Document 623-1 Filed 02/06/23 Page 15 of 17
  ALPGH             *             INMATE EDUCAT]ON DATA               0L-2't -2023
PAGE 002 0E 002     *                         TRANSCRIPT              10:38:51
REGISTER NO: 33755-034          NAME. .   :    SCOTT              FUNC:   PRT
trnpr/a.n        TRANSCRlPT     RSP OE: ALP_ALLENWOOD USP

                                   EDUCATION COURSES
SUB-FACL       DESCRIPTION                    START DATE STOP DATE EVNT AC LV    HRS
COP            MINOR LEAGUE SPORTS RULES      0't-15-207601-20-2076 P C P            4




G0000            TRANSACTION SUCCESSFULLY COMPLETED
        Case 2:13-cr-00227-ILRL-JVM Document 623-1 Filed 02/06/23 Page 16 of 17

  ALPGH 531.01 *                          INMATE HISTORY                                  0L-21 -2023
PAGE 001 0F 001 *                           PT   OTHER                                    10:39:52
 REG NO..:   33755-034 NAME....: SCOTT, AKEIN
 CATEGORY:   PTO              FUNCTION:   PRT            FORMAT

FCL     ASS]GNMENT DESCRIPTION                                START DATE/TIME          STOP DATE/TIME
ALP     ANG M WAIT ANGER MANAGEMENT CBT WA]T                  01-28-2022    1056 CURRENT
ALP     MONSMGW MONEY SMART GENERAL POP WAIT                  03-02-2022    1336 CURRENT
ALP     OCP EDU   W       OCCUPATIONAL EDUC WATTLIST          0't-21-2022   000L CURRENT
ALP     ARTH FND C        ARTHRITIS FOUNDATION WALK COMP      02-22-2022    1-7   54   02-22-2022    1_'754
ALP     ARTH FND P        ARTHRITIS FOUNDATION WALK PART      0t-23-2022    1230 02-22-2022 t'754
ALP     ARTH FND C        ARTHRIT]S FOUNDATION WALK COMP      0t-16-2022    1225       0]--16-2022   1225
ALP     ARTH FND P        ARTHRITIS FOUNDATION WALK PART      t2-06-2027    1237       1t-t6-2022    1225
ALP     HTH WELL C        HEALTH & WELLNESS LIFESPN COMP      t2-06-2021    1003  72-06-202t 1003
ALP     HTH WELL P        HEALTH & WELLNESS LIFESPN PART      11-09-2021    t-815 t2-06-2021 1003
ALP     BRN HLTH C        BRAIN HEALTH AS YOU AGE COMP        tt-0t-2027    L026 Lt-0).-2021 L026
ALP     BRN HLTH P        BRAIN HEALTH AS YOU AGE PART        03-09-2021    t43L 1-7-01--2021 7026
ALP     ARTH FND C        ARTHRIT]S FOUNDATION WALK COMP      05-30-2021    1007 0s-30-2021 1007
ALP     ARTH END P        ARTHRITIS FOUNDATION WALK PART      05-01-2021    l_154 05-30-2021 1007
ALP     TALK DOC C        TALKING WITH YOUR DOCTOR COMP       04-26-202L    1L43 04-26-2021 1-L43
ALP     TALK DOC P        TALKING WITH YOUR DOCTOR PART       04-12-2027    1206 o4-26-202t 7143
ALP     VICT IMP      C   V]CTIM IMPACT COMP                  03-02-202L    7043 03-02-202)- 1043
ALP     VICT IMP      P   VICTIM IMPACT PART                  02-26-2027    0630 03-02-202L t043
ALP     VICT IMP      W   VICTIM ]MPACT WAIT                  02-02-2021    1036 02-26-2027 0630
ALP     HTH WELL C        HEALTH & WELLNESS LIFESPN COMP      02-71-202L    1450 02-t'7 -2027 1450
ALP     HTH WELL P        HEALTH & WELLNESS LIFESPN PART      02-04-2Q21    1-330 02-71-202L 1450
ALP     AGE BDY C         HEALTHY AGING BODY COMP             02-03-202L    l4L3 02-03-2021 ]-41-3
ALP     AGE BDY P         HEALTHY AGING BODY PART             07-22-202L    L530 02-03-202L 1413




G0000         TRANSACTION SUCCESSFULLY COMPLETED
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  ALPGH    53 ]. .   O   1*               INMATE HISTORY                         07-21 -2023
PAGE OO1 OF     OO       1*                 WASPB                                10:40:08
 REG NO..:     33756-034 NAME....: SCOTT, AKEIN
 CATEGORY:    WSP             FUNCTION:   PRT        FORMAT

FCL     ASSIGNMENT DESCRIPTION                             START DATE/TIME STOP DATE/TIME
ALP     PAR NATLC NATIONAL PARENTING PGM CMPLT             03-18-2021 1050 03-18-2021 1050
ALP     PAR   IODC ]NSIDE OUT DAD COMPLETE                 03-18-2021 1050 03-18-2021 10s0
ALP     PAR   IODP INSIDE OUT DAD PARTICIPAT]NG            03-t't-2021 1451 03-18-202 11 0s0
ALP     PAR   ]ODW INS]DE OUT DAD WAITING                  03-L'7 -2027 0645 03-71 -202 11 45't
ALP     PAR   ONEC PHASE ONE COMPLETE                      03-1-1-2021 7456 03-71 -202 11 456
ALP     PAR   ONEP PHASE ONE PART                          03-t'7 -2021 0644 03-7't -202 11 455
ALP     PAR   ONEW PHASE ONE WAIT                          01-08-2021 06s7 03-11 -202 10 644




G0000            TRANSACTION SUCCESSFULLY COMPLETED
